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                             Exhibit A
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                                                                    New Case Index

Column1      Plaintiff Name                      Case Number          Date Filed      Notes1
      1      POCHERT, KEITH                      1:23-cv-03870        5/24/2023       Case filed before June 6, 2023, but not listed on Defs.' App'x B
      2      HEBERT, LISA                        1:23-cv-03876        5/24/2023       Case filed before June 6, 2023, but not listed on Defs.' App'x B
      3      COLLINS, PATRICK                    1:23-cv-03917        5/25/2023       Case filed before June 6, 2023, but not listed on Defs.' App'x B
      4      DEVILLE, JOSEPH                     1:23-cv-03942        5/26/2023       Case filed before June 6, 2023, but not listed on Defs.' App'x B
      5      JONES, LATRICE                      1:23-cv-04229         6/8/2023
      6      MCPHAIL, THOMAS                     1:23-cv-04255         6/9/2023
      7      BURT, DARRYL                        1:23-cv-04280         6/9/2023
      8      PRICE, CLEVELAND                    1:23-cv-04447        6/15/2023
      9      MAHANEY, ERNEST                     1:23-cv-04446        6/15/2023
     10      SHERFIELD, JEFFERY                  1:23-cv-04439        6/15/2023
     11      POORE, JANICE                       1:23-cv-04438        6/15/2023
     12      ERVIN, RHONDA                       1:23-cv-04430        6/15/2023
     13      SEIDWITZ, DAVID                     1:23-cv-04437        6/15/2023
     14      HOWSE, CAROLYN                      1:23-cv-04602        6/21/2023
     15      DORSEY, DEBORAH                     1:23-cv-04662        6/22/2023
     16      BYRNE, PATRICK                      1:23-cv-04684        6/23/2023
     17      HARRIS, TONY                        1:23-cv-04676        6/23/2023
     18      HUBBARD JR., BERT                   1:23-cv-04675        6/23/2023
     19      NELSON, REGINA                      1:23-cv-04697        6/23/2023
     20      STOOKSBURY, AMY                     1:23-cv-04449        6/27/2023
     21      ANDRIALIS, CYNTHIA                  1:23-cv-04817        6/28/2023
     22      KREIL, EDWARD                       1:23-cv-04851        6/28/2023
     23      KAMINSKY, JEANNE                    1:23-cv-04869        6/29/2023
     24      MOURTON, MARY                       1:23-cv-04935        6/30/2023
     25      HICKS, SR., RICHARD                 1:23-cv-04954        6/30/2023

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  Defendants’ Appendix B purports to “reflect Plaintiffs’ claims against the TPG Defendants that have been transferred into the MDL by the Court as of June 6,
 2023.”
